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                                       #:17618



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 8                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
 9                               SOUTHERN DIVISION

10                                       §
      ENTROPIC COMMUNICATIONS, LLC, §
11               Plaintiff,              §
                                         §         Case No. 2:23-cv-01043-JWH-KES
12            v.                         §           LEAD CASE
                                         §         Case No. 2:23-cv-01049-JWH-KES
13    DISH NETWORK CORPORATION,          §           LEAD CASE
      et al.,                            §
14               Defendants.             §
      __________________________________ §         Hon. John W. Holcomb
15                                       §         Special Master David M. Keyzer
      ENTROPIC COMMUNICATIONS, LLC, §
16               Plaintiff,              §
                                         §         NOTICE OF
17            v.                         §         SPECIAL MASTER REPORT AND
                                         §         RECOMMENDATION ON
18    COX COMMUNICATIONS, INC., et al., §          MOTIONS REFERRED BY THE
                 Defendants.             §         COURT ON JANUARY 10, 2024
19                                       §

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                     NOTICE OF SPECIAL MASTER REPORT AND RECOMMENDATION - 1
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 1          Pursuant to the Court’s July 5, 2023 Order Appointing David Keyzer, Esq. as

 2    Special Master for Discovery Purposes (Civil Action No. 2:23-cv-1043, Dkt. 74; Civil

 3    Action No. 2:23-cv-1049, Dkt. 62), and further pursuant to the Court’s January 10, 2024

 4    Order Referring Motions to Special Master (Civil Action No. 2:23-cv-1043, Dkts. 273,

 5    347; Civil Action No. 2:23-cv-1049, Dkts. 191, 244), the Special Master attaches hereto

 6    the Special Master Report and Recommendation on Motions Referred by the Court on

 7    January 10, 2024.

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10    Dated:    March 6, 2024                     By:       /s/ David Keyzer
                                                  David M. Keyzer
11                                                California Bar No. 248585
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15                                                Special Master

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                      NOTICE OF SPECIAL MASTER REPORT AND RECOMMENDATION - 2
